       Case 3:22-cv-03780-WHA            Document 1      Filed 06/27/22      Page 1 of 12




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11   Attorneys for Plaintiff and the Class

12                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
13

14
      Loretta Williams, individually and on behalf
15    of all others similarly situated,

16                                                     Case No.
                                    Plaintiff,
17    v.                                               CLASS ACTION COMPLAINT
18
      What If Holdings, LLC d/b/a C4R Media
19    Corp., and ActiveProspect, Inc.                  JURY TRIAL DEMANDED
20                                  Defendants.
21
            1.      Plaintiff Loretta Williams (“Plaintiff” or “Williams”) brings this Class Action
22
     Complaint and Jury Demand (“Complaint”) against Defendants What If Holdings, LLC d/b/a C4R
23
     Media Corp. (“C4R Media”) and ActiveProspect, Inc. (“ActiveProspect”) to obtain redress for, and
24
     to put an end to, Defendants’ serial wiretapping of the electronic communications of visitors to
25
     C4R Media’s websites, including claim.foundmoneyguide.com.
26
            2.      The wiretaps are embedded in the computer code on C4R Media’s websites and are
27
     used by Defendants to covertly observe and record visitors’ keystrokes and clicks in real time.
28

      CLASS ACTION COMPLAINT                     -1-
       Case 3:22-cv-03780-WHA            Document 1        Filed 06/27/22      Page 2 of 12




 1          3.      Such actions violated the California Invasion of Privacy Act, Cal. Penal Code 631

 2   (“CIPA”), and invaded Plaintiff’s and class members’ privacy rights.

 3          4.      Plaintiff, for her Complaint, alleges as follows upon personal knowledge as to

 4   herself and her own acts and experiences, and, as to all other matters, upon information and belief,

 5   including investigation conducted by her attorneys.

 6                                      NATURE OF THE ACTION

 7          5.      Defendant ActiveProspect offers a product to lead generators and telemarketers

 8   known as “TrustedForm”. This product is designed to allow these lead generators and

 9   telemarketers to attempt compliance with the federal Telephone Consumer Protection Act by

10   documenting alleged evidence of prior express consent to receive telemarketing calls provided on

11   websites.

12          6.      One feature of ActiveProspect’s “TrustedForm” product is a “video replay”

13   function, which records, in real time, a person’s interaction with a website that is using

14   TrustedForm.

15          7.      As one of ActiveProspect’s “Knowledge Managers” puts it on ActiveProspect’s

16   website,

17          When the TrustedForm script is loaded on a page, the HTML (technically the DOM)
18          is collected and stored, as well as all the “event data” such as mouse movements and
            clicks, and key presses, as well as changes to the DOM right up to the point the user
19          leaves the page, which is typically upon submitting the form. Whatever the user does
            on the page is captured, including changes and corrections to the information entered
20          in the form.
21
            The TrustedForm certificate generated by the script includes all of this event data,
22          which can be replayed exactly as it happened on top of the original DOM. This is the
            most authentic record possible of the end users’ interaction with the form. It is not a
23          re-creation in that we make no assumptions or estimates as to what happened on the
            page. We play back the events exactly as they occurred.
24
     https://community.activeprospect.com/questions/4180654 (last visited June 1, 2022).
25
            8.      Said another way, TrustedForm “captures a copy of the web page viewed by the
26
     visitor and the user events that took place on the page including form inputs, mouse movements
27
     and clicks. It plays these events back as a screen capture of how the user interacted with the page.”
28

      CLASS ACTION COMPLAINT                       -2-
       Case 3:22-cv-03780-WHA             Document 1       Filed 06/27/22      Page 3 of 12




 1   See “Certificate of Authenticity for Web Leads,” attached hereto as Exhibit A.

 2          9.      ActiveProspect enters into partnerships with various telemarketers and lead

 3   generators who wish to utilize TrustedForm. ActiveProspect then provides its software and scripts

 4   to those partners.

 5          10.     One such entity is C4R Media, which uses TrustedForm on its website

 6   claim.foundmoneyguide.com and other websites that it operates.

 7          11.     C4R Media knows that TrustedForm captures strokes, clicks, and other interactions

 8   on its websites—it is a primary reason why C4R Media contracts with ActiveProspect for the

 9   TrustedForm product in the first place.

10          12.      Pursuant to their agreement with each other, C4R Media installed TrustedForm by

11   embedding ActiveProspect’s code onto click.foundmoneyguide.com and, on information and

12   belief, many of C4R Media’s other lead generation websites.

13          13.     Unfortunately for Defendants, their conduct constitutes wiretapping under

14   California law because Defendants do not secure prior express consent before recording their

15   movements on the websites.

16          14.     As a result of Defendants’ violations of the CIPA, Plaintiff Williams and the

17   members of the Class were deprived of their privacy rights guaranteed to them by California law,

18   and they are thus entitled to injunctive relief and statutory damages in the amount of $5,000 for

19   each violation. See Cal. Penal Code § 637.2.

20                                                  PARTIES

21          15.     Plaintiff Williams is a natural person and citizen of the State of California.

22          16.     Defendant C4R Media is a limited liability company with its principal place of

23   business located in Fort Lee, New Jersey.

24          17.     Defendant ActiveProspect is a Nevada corporation with its principal places of

25   business located in Austin, Texas.

26                                    JURISDICTION AND VENUE

27          18.     This Court has subject matter jurisdiction under the Class Action Fairness Act, 28

28   U.S.C. § 1332(d), et seq. (“CAFA”), because the class consists of over 100 people, at least one

      CLASS ACTION COMPLAINT                        -3-
        Case 3:22-cv-03780-WHA           Document 1        Filed 06/27/22     Page 4 of 12




 1   member of each class is from a State other than the state of the Defendants, and the amounts in

 2   controversy are over $5,000,000. Further, none of the exceptions to CAFA jurisdiction apply.

 3           19.     This Court has personal jurisdiction over Defendants because they conduct

 4   substantial business in this District, the unlawful conduct alleged in the Complaint occurred in

 5   and/or were directed to this District, and Plaintiffs’ claims arise out of each Defendants’ forum-

 6   related activities.

 7           20.     Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of

 8   the events and omissions giving rise to the claims occurred in this District.

 9                                  FACTS SPECIFIC TO PLAINTIFF

10           21.     On or around December 24, 2021, Williams visited

11   claim.foundmoneyguide.com/api/offer, a website owned and operated by C4R Media.

12           22.     During that visit, the TrustedForm replay function created a video that captured

13   Williams’ keystrokes and clicks on the website. It also captured the date and time of the visit, the

14   browser and operating system used by Williams during the visit, and her geographic location.

15           23.     TrustedForm also recorded Williams’ name, address, date of birth, and phone

16   number.

17           24.     A screenshot of the TrustedForm related to Williams’s visit is below:

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      CLASS ACTION COMPLAINT                      -4-
       Case 3:22-cv-03780-WHA           Document 1       Filed 06/27/22      Page 5 of 12




 1          25.     As the screenshot of the TrustedForm replay shows, Williams’ personal information

 2   is included on the page. But at this point in the video, the “I CONFIRM” button is not clicked.

 3   However, approximately 3 seconds into the video, Williams’ cursor appears and clicks “I

 4   CONFIRM”:

 5

 6

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            26.     Then one additional second later, the cursor moves over to the green “CLAIM
16
     YOUR CASH!” button:
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      CLASS ACTION COMPLAINT                     -5-
       Case 3:22-cv-03780-WHA             Document 1        Filed 06/27/22       Page 6 of 12




 1          27.     Thus, Williams’ interaction (including her keystrokes and mouse movement and

 2   clicks) was recorded by C4R Media and ActiveProspect using ActiveProspect’s TrustedForm

 3   technology.

 4          28.     This recording was done without Plaintiff’s consent. Defendants did not inform

 5   website visitors that their strokes and clicks would be recorded, much less secure prior express

 6   consent. Indeed, the wiretapping began the moment Williams and other members of the alleged

 7   Class visited the webpage.

 8          29.     All TrustedForm videos are hosted on ActiveProspect’s servers, and to access the

 9   videos one must follow a hyperlink provided by ActiveProspect. Moreover, ActiveProspect

10   independently collects and stores information provided by web users on the websites of its clients.

11          30.     Members of the alleged Class were unlawfully monitored in the same way as

12   Williams’ was: TrustedForm functions the exact same way no matter which persons is visiting a

13   site, or which of C4R’s websites the person is visiting.

14          31.     For wiretapping her visit to C4R’s visit, Plaintiff brings this suit, on behalf of

15   herself and those similarly situated, to put an end to Defendants’ repeated and widespread CIPA

16   violations. Such violations entitle her, and other similarly situated persons, to injunctive relief plus

17   statutory damages of $5,000 per violation.

18                                   CLASS ACTION ALLEGATIONS

19          32.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure Rules

20   23(b)(2) and 23(b)(3) on behalf of herself and a Class defined as follows:

21          All persons in California who: (1) from a date one year prior to the filing of the
            initial complaint in this action to the date notice is sent to the Class; (2) visited one
22          of C4R Media’s websites; (3) which utilized ActiveProspect’s “TrustedForm”
            software; (4) who had their electronic communications intercepted and/or recorded
23
            by ActiveProspect; and (5) where the Defendants claim to have secured prior
24          express consent to monitor, record, collect, and store electronic communications in
            the same manner as they claim to have secured prior express consent from
25          Williams, or where Defendants do not claim they secured any such prior express
            consent.
26
            33.     Excluded from the Class are: (1) Defendants, Defendants’ agents, subsidiaries,
27
     parents, successors, predecessors, and any entity in which Defendants or their parents have a
28

      CLASS ACTION COMPLAINT                       -6-
       Case 3:22-cv-03780-WHA            Document 1        Filed 06/27/22      Page 7 of 12




 1   controlling interest, and those entities’ officers and directors, (2) the Judge or Magistrate Judge to

 2   whom this case is assigned and the Judge’s or Magistrate Judge’s immediate family, (3) Plaintiff’s

 3   counsel and Defendants’ counsel; (4) persons who execute and file a timely request for exclusion,

 4   (5) persons who have had their claims in this matter finally adjudicated and/or otherwise released,

 5   and (6) the legal representatives, successors, and assigns of any such excluded person. Plaintiff

 6   anticipates the need to amend the class definition following a reasonable period for discovery

 7   regarding the contours of the Class.

 8          34.     Numerosity: The exact number of class members is unknown to Plaintiff at this

 9   time, but it is clear that individual joinder is impracticable. On information and belief, Defendants

10   wiretapped thousands of California residents. Further, the class members can readily be ascertained

11   through Defendants’ records.

12          35.     Commonality: Common questions of law and fact exist as to all members of the

13   Class for which this proceeding will provide common answers in a single stroke based upon

14   common evidence, including:

15          (a)     Whether Defendants’ conduct described herein violated the CIPA;

16          (b)     Whether Defendants secured prior express consent before monitoring, recording,

17                  collecting, and storing the electronic communications of Plaintiff and the Class;

18          (c)     Whether Defendants have violated the California Constitution; and

19          (d)     The proper measure of damages.

20          36.     Typicality: As a result of Defendants’ uniform and repeated pattern of unlawful

21   recording, Plaintiff and the class members suffered the same injury and similar damages. If

22   Defendants’ actions violated the CIPA as to Plaintiff, then they violated the CIPA as to all class

23   members. Thus, Plaintiff’s claims are typical of the claims of the other class members.

24          37.     Adequate Representation: Plaintiff is a member of the Class and both she and her

25   counsel will fairly and adequately represent and protect the interests of the Class, as neither has

26   interests adverse to those of the class members and Defendants have no defenses unique to

27   Plaintiff. In addition, Plaintiff has retained counsel competent and experienced in complex

28   litigation and class actions. Further, Plaintiff and her counsel are committed to vigorously

      CLASS ACTION COMPLAINT                       -7-
       Case 3:22-cv-03780-WHA              Document 1        Filed 06/27/22      Page 8 of 12




 1   prosecuting this action on behalf of the members of the Class, and they have the financial resources

 2   to do so.

 3             38.    Conduct Applicable Towards Class as a Whole: Defendants acted consistently

 4   with respect to every member of the Class. No Class Member was treated specially or different as

 5   Defendants acted in the same manner with respect to all Class Members. As such, injunctive relief

 6   and corresponding declaratory relief are available and appropriate.

 7             39.    Predominance: The common questions of law and fact set forth above go to the

 8   very heart of the controversy and predominate over any supposed individualized questions.

 9   Irrespective of any given class member’s situation, the answer to whether Defendants’ conduct

10   described herein repeatedly violated the CIPA is the same for everyone—a resounding “yes”—and

11   the same will be proven using common evidence.

12             40.    Superiority and Manageability: A class action is superior to all other methods of

13   adjudicating the controversy. Joinder of all class members is impractical, and the damages suffered

14   by/available to the individual class members will likely be small relative to the cost associated with

15   prosecuting an action. Thus, the expense of litigating an individual action will likely prohibit the

16   class members from obtaining effective relief for Defendants’ misconduct. In addition, there are

17   numerous common factual and legal questions that could result in inconsistent verdicts should

18   there be several successive trials. In contrast, a class action will present far fewer management

19   difficulties, as it will increase efficiency and decrease expense. Further, class-wide adjudication

20   will also ensure a uniform decision for the class members.

21                                       FIRST CAUSE OF ACTION
                                   Violation of Cal. Penal Code § 631, et seq.
22                                   (On Behalf of Plaintiff and the Class)
23             41.    Plaintiff incorporates by reference the foregoing allegations as if fully set forth
24   herein.
25             42.    The CIPA provides that it is a violation of Cal. Penal Code § 631(a) for a defendant,
26   “by means of any machine, instrument, contrivance, or in any other matter,” to do any of the
27   following:
28             Intentionally tap[], or make[] any unauthorized connection, whether physically,
      CLASS ACTION COMPLAINT                         -8-
       Case 3:22-cv-03780-WHA            Document 1        Filed 06/27/22      Page 9 of 12




            electrically, acoustically, inductively or otherwise, with any telegraph or telephone
 1          wire, line, cable, or instrument, including the wire, line, cable, or instrument of any
 2          internal telephonic communication system,

 3          Or

 4          Willfully and without the consent of all parties to the communication, or in any
            unauthorized manner, read[] or attempt[] to read or learn the contents or meaning
 5
            of any message, report, or communication while the same is in transit or passing
 6          over any wire, line or cable or is being sent from or received at any place within
            this state,
 7
            Or
 8
            Use[], or attempt[] to use, in any manner, or for any purpose, or to communicate in
 9
            any way, any information so obtained,
10
            Or
11
            Aid[], agree[] with, employ[], or conspire[] with any person or persons to
12          unlawfully do, or permit or cause to be done any of the acts or things mentioned
            above in this section.
13

14          43.     Section 631(a) is not limited to phone lines. See Matera v. Google Inc., 2016 WL
15   8200619, at *21(N.D. Cal. Aug. 12, 2016) (CIPA applies to “new technologies” and must be
16   construed broadly to effectuate its remedial purpose of protecting privacy); Bradley v. Google,
17   Inc., 2006 WL 3798134, at *5-6 (N.D. Cal. Dec. 22, 2006) (CIPA governs “electronic
18   communications”); In re Facebook, Inc. Internet Tracking Litigation, --- F.3d --- 2020 WL
19   1807978 (9th Cir. Apr. 9, 2020) (reversing dismissal of CIPA and common law privacy claims
20   based on Facebook’s collection of consumers’ Internet browsing history).
21          44.     TrustedForm is a “machine, instrument, contrivance, or . . . any other manner” that
22   is used by ActiveProspect and C4R Media to engage in the unlawful practices described in this
23   Complaint.
24          45.     By using TrustedForm, Defendants intentionally tapped the lines of communication
25   between Plaintiff (and absent Class Members) and C4R Media’s websites.
26          46.     Defendants lack prior express consent from Plaintiff and the Class for Defendants to
27   “read or attempt to read or learn the contents or meaning” of their electronic communications being
28

      CLASS ACTION COMPLAINT                       -9-
       Case 3:22-cv-03780-WHA              Document 1         Filed 06/27/22     Page 10 of 12




 1   made in the State of California.

 2             47.     C4R Media partnered with (and conspired with) ActiveProspect to achieve the

 3   unlawful conduct described herein.

 4             48.     This violation of Section 631(a) is an invasion of privacy and confers Article III

 5   standing.

 6             49.     Absent an injunction, Plaintiff and the members of the Alleged Class are at risk of

 7   continued harm. TrustedForm is used by many website operators and there is no practical way to

 8   know if the future whether website communications will be monitored and recorded by

 9   Defendants, absent ceasing to utilize the internet (a near impossibility in the year 2022).

10             50.     Accordingly, pursuant to Cal. Penal Code § 637.2(a)(1), Plaintiff and the Class seek

11   injunctive relief and statutory damages in the amount of $5,000 per violation.

12                                       SECOND CAUSE OF ACTION
                     Violation of California’s Unfair Competition Law, Cal. Bus. Prof. Code
13
                                          Section 17200 et seq. (“UCL”)
14                                     (On Behalf of Plaintiff and the Class)

15             51.     Plaintiff incorporates by reference the foregoing allegations as if fully set forth

16   herein.

17             52.     Defendants’ conduct set forth above is unlawful and in violation of the TCPA and

18   its implementing regulations. As such, Defendant has violated the Unfair Competition Law’s

19   “unlawful” prong with respect to the California Class members.

20             53.     Defendants’ conduct violated Cal. Penal Code § 631 and thus violated the UCL’s

21   unlawful prong.

22             54.     Defendants’ conduct also invaded the privacy of the Plaintiff and the Class

23   Members and was therefore unlawful and unfair.

24             55.     Defendants should be enjoined from making such additional invasions of privacy.

25             56.     Defendants should also be ordered to secure prior express consent before any

26   further wiretapping of electronic communication.

27             57.     Defendants should also be required to pay reasonable costs and attorneys’ fees.

28

      CLASS ACTION COMPLAINT                         - 10 -
       Case 3:22-cv-03780-WHA               Document 1       Filed 06/27/22     Page 11 of 12




                                         THIRD CAUSE OF ACTION
 1                            Invasion of Privacy Under California’s Constitution
 2                                   (On Behalf of Plaintiff and the Class)
               58.    Plaintiff incorporates by reference the foregoing allegations as if fully set forth
 3
     herein.
 4
               59.    Plaintiff and other members of the Class have an interest in conducting personal
 5
     activities (such as visiting websites), without observation or interference, including visiting
 6
     websites without being subjected to secret wiretaps.
 7
               60.    Defendants intentionally invaded the privacy rights of Plaintiff and other members
 8
     of the Class, and worked cooperatively to do so.
 9
               61.    This invasion of privacy is serious in nature and scope and constitutes a breach of
10
     the social norms in the digital age.
11
               62.    Thus, Plaintiff seeks all relief available for invasion of privacy under the California
12
     Constitution on behalf of herself and members of the alleged Class.
13
                                             PRAYER FOR RELIEF
14
               WHEREFORE, Plaintiff, individually and on behalf of the Class, respectfully requests that
15
     this Court issue an order:
16
               A.     Certifying this case as a class action on behalf of the Class defined above,
17
                      appointing Williams as class representative and appointing her counsel as class
18
                      counsel;
19
               B.     Finding that Defendants’ actions constitute repeated and willful violations of the
20
                      CIPA;
21
               C.     Awarding injunctive relief under the CIPA enjoining Defendants from continuing to
22
                      violate the CIPA by unlawfully wiretapping electronic communication without
23
                      consent;
24
               D.     Awarding damages, including statutory damages where applicable, to Plaintiff and
25
                      the Class in amounts to be determined at trial;
26
               E.     Awarding Plaintiff and the Class their reasonable litigation expenses and attorneys’
27
                      fees;
28

      CLASS ACTION COMPLAINT                        - 11 -
      Case 3:22-cv-03780-WHA             Document 1         Filed 06/27/22       Page 12 of 12




 1          F.      Awarding Plaintiff and the Class pre- and post- judgment interest, to the extent

 2                  allowable; and

 3          G.      Such further and other relief as the Court deems reasonable and just.

 4                                             JURY DEMAND

 5          Plaintiff requests a trial by jury of all claims that can be so tried.

 6

 7                                                  Respectfully submitted,

 8   Dated: June 27, 2022                           LORETTA WILLIAMS, individually and on behalf
                                                    of all others similarly situated,
 9
                                            By:     /s/ Rebecca Davis
10
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20
                                                    *Pro Hac Vice admission to be sought
21
                                                    Counsel for Plaintiff and the Class
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      CLASS ACTION COMPLAINT                       - 12 -
